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                                            Rebuttal	  Report	  Ken	  Wallentine	  
                                                   Trevor	  Petersen	  	  
  	  
         1. Mr.	  Wallentine	  points	  out	  Mr.	  Chatwin’s	  highly	  intoxicated	  state	  and	  
            aggressive	  and	  agitated	  behavior.	  	  Mr.	  Chatwin	  does	  not	  deny	  his	  intoxication	  
            level	  or	  being	  verbally	  	  confrontational.	  	  Mr.	  Wallentine	  states,	  “A	  reasonable	  
            and	  well-­‐trained	  officer	  would	  have	  responded	  swiftly	  and	  decisively	  with	  
            whatever	  force	  was	  reasonably	  necessary	  to	  thwart	  plaintiff’s	  efforts.”	  In	  this	  
            case,	  it	  is	  my	  opinion	  that	  the	  officers	  did	  not	  act	  reasonably	  and	  have	  shown	  
            that	  they	  lack	  the	  necessary	  training,	  as	  required	  by	  the	  Utah	  Police	  Officer	  
            Standards	  and	  Training.	  	  Two	  certified	  police	  officers	  and	  one	  animal	  control	  
            officer	  were	  taking	  Mr.	  Chatwin	  into	  custody,	  but	  failed	  to	  use	  the	  proper	  
            officer	  safety	  techniques,	  which	  inevitably	  they	  did	  not	  prevent	  Mr.	  Chatwin	  
            from	  harming	  himself	  and/or	  others.	  	  Furthermore,	  this	  situation	  did	  not	  
            warrant	  using	  the	  amount	  of	  force	  which	  was	  used	  against	  Mr.	  Chatwin,	  an	  
            individual	  who	  is	  highly	  intoxicated	  and	  handcuffed	  behind	  his	  back.	  	  
            	  	  
         2. Mr.	  Wallentine	  explains	  different	  types	  of	  firearm	  retention	  techniques.	  	  One	  
            of	  the	  techniques	  is	  explained	  as	  trapping	  the	  assailant’s	  hand	  on	  the	  firearm	  
            and	  pushing	  the	  assailant’s	  hand	  downward	  in	  an	  attempt	  to	  break	  the	  
            assailant’s	  grip	  on	  the	  firearm	  and	  also	  keeping	  the	  firearm	  in	  the	  holster.	  	  
            This	  technique	  is	  a	  very	  effective	  firearm	  retention	  technique	  and	  should	  
            have	  been	  used	  in	  this	  incident,	  if	  in	  fact	  Mr.	  Chatwin	  	  was	  attempting	  to	  
            disarm	  Officer	  Patterson.	  
  	  
         3. Officer	  Patterson	  stated	  that	  he	  heard	  the	  safety	  retention	  on	  his	  holster	  
            unlock	  and	  observed	  Mr.	  Chatwin’s	  hand	  on	  his	  duty	  pistol.	  	  Officer	  Baugh	  
            testified	  that	  she	  did	  not	  hear	  the	  retention	  lock	  disengage.	  	  Although,	  Officer	  
            Patterson	  admitted	  that	  his	  body	  armor/bullet	  proof	  vest	  could	  easily	  unlock	  
            his	  weapon	  retention	  lock	  on	  his	  duty	  holster.	  	  In	  my	  experience,	  I	  have	  
            interacted	  with	  or	  taken	  numerous	  verbally	  confrontational	  and	  intoxicated	  
            persons	  into	  custody	  by	  myself.	  	  I	  have	  conducted	  numerous	  searches	  of	  
            individuals	  who	  were	  handcuffed	  behind	  their	  back	  and	  have	  had	  these	  
            individuals	  touching	  and	  grabbing	  equipment	  located	  on	  my	  duty	  belt,	  
            including	  my	  firearm.	  	  I	  have	  used	  the	  proper	  weapon	  retention	  tactics,	  none	  
            of	  which	  were	  throwing	  an	  individual	  to	  the	  ground.	  It	  is	  my	  opinion,	  Officer	  
            Patterson’s	  decision	  and	  technique	  that	  he	  used	  to	  throw	  Mr.	  Chatwin	  to	  the	  
            ground	  was	  not	  in	  the	  realm	  of	  reasonable	  tactical	  responses.	  	  	  
  	  
         4. I	  agree	  that	  the	  prone	  position	  is	  a	  control	  technique	  that	  maximizes	  control	  
            of	  resistive	  subjects.	  	  The	  kneeling	  position	  is	  also	  a	  control	  technique	  that	  
            allows	  the	  searching	  officer	  to	  conduct	  a	  search	  incident	  to	  arrest	  of	  an	  
            individual	  that	  is	  in	  custody.	  	  The	  prone	  or	  kneeling	  position	  are	  what	  should	  
            have	  been	  used	  by	  Officer	  Patterson	  and	  Officer	  Harris	  while	  Mr.	  Chatwin	  
            was	  on	  the	  grassy	  area,	  after	  he	  had	  been	  placed	  in	  custody.	  	  Due	  to	  Mr.	  
            Chatwin’s	  intoxication	  level	  and	  Officer	  Patterson	  and	  Officer	  Harris	  
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              testifying	  that	  they	  needed	  to	  continually	  hold	  Mr.	  Chatwin	  up	  while	  he	  was	  
              standing.	  	  If	  Officer	  Patterson	  and	  Officer	  Harris	  would	  have	  put	  Mr.	  Chatwin	  
              into	  a	  kneeling	  position	  to	  perform	  their	  search	  incident	  to	  arrest,	  Mr.	  
              Chatwin	  would	  have	  been	  controlled	  much	  easier	  and	  would	  not	  have	  been	  
              at	  a	  risk	  of	  falling	  and	  injuring	  himself.	  	  Furthermore,	  if	  Officer	  Patterson	  
              would	  have	  used	  the	  kneeling	  position	  to	  perform	  a	  search	  of	  Mr.	  Chatwin’s	  
              person,	  Officer	  Patterson’s	  duty	  weapon	  would	  not	  have	  been	  in	  the	  area	  of	  
              Mr.	  Chatwin’s	  hands.	  	  	  
  	  
         5. A	  prone	  control	  technique	  is	  used	  in	  several	  different	  instances.	  My	  opinion	  
            is	  that	  if	  Mr.	  Chatwin	  had	  been	  placed	  into	  a	  kneeling	  position	  and	  Officer	  
            Patterson	  and	  Officer	  Harris	  had	  searched	  Mr.	  Chatwin’s	  person,	  prior	  to	  
            moving	  him	  to	  the	  police	  truck,	  which	  was	  located	  on	  a	  concrete	  surface,	  this	  
            entire	  incident	  could	  have	  been	  avoided.	  	  	  
  	  
         6. Kathy	  Torrence	  witnessed	  the	  events	  that	  transpired	  May	  8th	  2010.	  	  
            Torrence’s	  account	  stated,	  “Officer	  Patterson	  throws	  (Mr.	  Chatwin)	  to	  the	  
            ground.”	  In	  my	  opinion,	  this	  statement	  would	  hold	  true,	  due	  to	  the	  injuries	  
            that	  Mr.	  Chatwin	  sustained.	  	  Officer	  Patterson	  stated	  that	  he	  “placed”	  Mr.	  
            Chatwin	  on	  the	  ground.	  	  The	  definition	  of	  “placed”	  is	  to	  put	  in	  a	  proper	  
            position,	  order,	  or	  to	  arrange.	  	  The	  actions	  of	  Officer	  Patterson	  did	  not	  meet	  
            the	  definition	  of	  “placed”.	  	  	  
  	  
                                                           CONCLUSION	  
                                                                      	  
              As	  law	  enforcement	  officers,	  we	  are	  taught	  that	  we	  are	  accountable	  for	  all	  of	  
              our	  actions.	  	  There	  were	  two	  law	  enforcement	  officers	  and	  one	  animal	  
              control	  officer	  who	  were	  engaged	  with	  Mr.	  Chatwin	  on	  May	  8th	  2010.	  	  If	  Mr.	  
              Chatwin	  was	  so	  highly	  intoxicated	  and	  uncontrollable,	  Officer	  Harris	  should	  
              have	  been	  controlling	  Mr.	  Chatwin,	  while	  Officer	  Patterson	  performed	  the	  
              search	  of	  Mr.	  Chatwin’s	  person.	  	  Instead,	  Officer	  Baugh	  (who	  is	  not	  law	  
              enforcement	  certified	  or	  had	  any	  formal	  training	  on	  defensive	  tactics)	  is	  
              assisting	  Officer	  Patterson.	  	  Instead,	  Officer	  Harris	  begins	  a	  search	  of	  Mr.	  
              Chatwin’s	  vehicle.	  	  There	  were	  no	  other	  occupants	  in	  the	  vehicle	  and	  no	  
              immediate	  threat	  in	  the	  vehicle.	  	  This	  leads	  me	  to	  believe	  that	  either	  Mr.	  
              Chatwin	  was	  not	  as	  much	  of	  a	  threat	  as	  Officer	  Patterson	  testifies	  to,	  or	  	  
              Officer	  Patterson	  and	  Officer	  Harris	  did	  not	  take	  the	  proper	  precautions	  to	  
              prevent	  a	  highly	  intoxicated	  person	  from	  harming	  himself	  or	  others.	  	  	  
              	  
              Furthermore,	  the	  “unfortunate	  unintended”	  injuries	  were	  not	  the	  result	  of	  
              lawful	  and	  proper	  police	  actions.	  	  The	  proper	  precautions	  were	  not	  taken,	  
              specifically	  performing	  a	  search	  of	  Mr.	  Chatwin’s	  person	  while	  he	  was	  on	  the	  
              grassy	  area.	  	  Putting	  Mr.	  Chatwin	  into	  a	  position	  where	  he	  could	  be	  
              controlled	  (ie,	  kneeling	  or	  prone	  position)	  and	  prevent	  him	  from	  falling.	  	  
              Using	  two	  officers	  to	  perform	  the	  search	  (one	  to	  control	  Mr.	  Chatwin’s	  hands	  
              and	  the	  other	  officer	  to	  perform	  the	  search).	  	  These	  are	  all	  proper	  safety	  
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                                                         precautions	  that	  law	  enforcement	  officers	  are	  taught	  to	  prevent	  a	  dangerous	  
                                                         situation	  for	  law	  enforcement	  officer,	  arrestee,	  and	  bystanders.	  	  Officer	  
                                                         Harris,	  Officer	  Patterson,	  and	  Officer	  Baugh	  created	  this	  situation	  by	  not	  
                                                         taking	  these	  proper	  safety	  precautions.	  	  	  
                                                         	  
                                                         Furthermore,	  whether	  or	  not	  Officer	  Patterson	  intentionally	  or	  negligently	  
                                                         caused	  serious	  bodily	  injury	  to	  Mr.	  Chatwin,	  he	  is	  still	  accountable	  for	  the	  
                                                         outcome	  of	  his	  actions.	  	  I	  am	  unaware	  of	  any	  weapon	  retention	  training	  that	  
                                                         uses	  a	  technique	  of	  spinning	  an	  individual	  180	  degrees	  and	  throwing	  them	  to	  
                                                         the	  ground	  (while	  they	  are	  handcuffed	  behind	  their	  back).	  	  If	  Officer	  
                                                         Patterson	  would	  have	  used	  the	  proper	  weapon	  retention	  tactics,	  as	  Mr.	  
                                                         Wallentine	  and	  I	  have	  explained	  involving	  the	  trapping	  of	  the	  hand,	  the	  
                                                         injuries	  that	  Mr.	  Chatwin	  sustained	  would	  have	  been	  avoided.	  	  	  
                                                         	  
                                                         Throughout	  my	  career,	  whether	  domestic	  or	  internationally,	  I	  have	  always	  
                                                         known	  each	  agency	  or	  corporation	  to	  have	  their	  own	  use	  of	  force	  policies	  
                                                         and/or	  rules	  of	  engagement.	  	  	  Although	  the	  constitution	  and	  federal	  and	  state	  
                                                         statues	  are	  a	  basis	  for	  policies,	  it	  is	  imperative	  that	  that	  each	  agency	  
                                                         implement	  it’s	  own	  policies	  and	  provide	  training	  to	  it’s	  employees.	  	  In	  this	  
                                                         case,	  Draper	  City	  did	  not	  have	  any	  use	  of	  force	  policies	  in	  place	  and	  clearly	  
                                                         did	  not	  consider	  the	  importance	  as	  they	  ordered	  an	  animal	  control	  officer	  
                                                         (who	  has	  not	  been	  certified	  as	  a	  law	  enforcement	  officer	  or	  had	  any	  formal	  
                                                         use	  of	  force	  training)	  to	  perform	  law	  enforcement	  functions.	  	  	  
                                                         	  	  	  
  	                                                     	  
  	                                                     _________________________________________________	  	                                                                                    Date:	  May	  13th	  2016	  
  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  Signature	  
